Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 1 of 14. PageID #: 86125




                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION            MDL No. 2804
OPIATE LITIGATION
                                       Case No. 17-md-2804
This document relates to:
                                       Hon. Dan Aaron Polster
“Track One Cases”



               MALLINCKRODT’S MEMORANDUM IN SUPPORT OF
               ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
 Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 2 of 14. PageID #: 86126




                                                  TABLE OF CONTENTS

                                                                                                                                    Page

INTRODUCTION......................................................................................................................... 1

LEGAL STANDARD ................................................................................................................... 2

ARGUMENT ................................................................................................................................. 3

I.        Mallinckrodt is Entitled to Partial Summary Judgment on Plaintiffs’
          Marketing Claims Because Plaintiffs Have Failed to Adduce Evidence that
          Mallinckrodt Promoted its Generic Products. ............................................................... 3

II.       Mallinckrodt is Entitled to Summary Judgment on Plaintiffs’ Claims
          Premised on a Diversion Theory Because Plaintiffs Have Failed to Adduce
          Evidence that Mallinckrodt Shipped Any Suspicious Orders or that Its Anti-
          Diversion Program was Deficient after 2012. ................................................................. 4

          A.         Plaintiffs Have Failed to Identify a Single Suspicious Order that
                     Mallinckrodt Shipped, Much Less One After 2012 ........................................... 5
          B.         As Plaintiffs’ Experts Agree, the Record Provides No Basis to Find that
                     Mallinckrodt’s Anti-Diversion Efforts after 2012 Were Inadequate .............. 6
CONCLUSION ............................................................................................................................. 8
 Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 3 of 14. PageID #: 86127




                                                TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

Cases

PLIVA, Inc. v. Mensing,
   564 U.S. 604 (2011) ...................................................................................................................4

Riddle v. Egensperger,
   266 F.3d 542 (6th Cir. 2001) .....................................................................................................2

Scola v. Publix Supermarkets, Inc.,
   557 F. App’x 458 (6th Cir. 2014) ..............................................................................................2

Univ. Hosp. Health Sys., Inc. v. Pohl Inc. of Am.,
   358 F. Supp. 3d 658 (N.D. Ohio 2019) ......................................................................................2

Wuliger v. Christie,
   310 F. Supp. 2d 897 (N.D. Ohio 2004) ......................................................................................2

Statutes

21 U.S.C. § 355(j)(2)(A) ..................................................................................................................4

21 U.S.C. § 355(j)(2)(A)(i)-(iv) .......................................................................................................4

Controlled Substances Act ...............................................................................................................5

Other Authorities

21 C.F.R. § 314.94 ...........................................................................................................................4

Fed. R. Civ. P. 56(a), (c) ..................................................................................................................2




                                                                     -ii-
    Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 4 of 14. PageID #: 86128




          Mallinckrodt LLC, SpecGX LLC, and Mallinckrodt plc1 (“Mallinckrodt”) fully join the

joint briefs on behalf of Manufacturer Defendants and all Defendants. Mallinckrodt writes

separately to identify additional, unique bases for the dismissal of the claims against it.

                                                 INTRODUCTION

          Plaintiffs have done their best to paint “the industry” with a broad brush, obscuring the

meaningful differences between the dozens of disparate defendants. But by this stage of the

litigation, Plaintiffs are required to adduce evidence in support of their claims against each

individual defendant. This case is premised on alleged wrongful conduct—not a theory of strict

liability for manufacturing legal products. To survive summary judgment, Plaintiffs must have

assembled facts sufficient to support allegations of actionable, wrongful conduct as to

Mallinckrodt specifically. They have not done so in several important respects.

          As to Plaintiffs’ marketing claims, the record offers no evidence that Mallinckrodt

promoted its generic products to physicians at all, much less that it did so in a manner that was

false or misleading. Accordingly, summary judgment should enter on that aspect of Plaintiffs’

claims.

          As to Plaintiffs’ diversion theory, Plaintiffs have not identified a single suspicious order

that Mallinckrodt allegedly shipped to any customer—nor a single shipment that Mallinckrodt

made into Cuyahoga or Summit County in the last 20 years.2 Moreover, Plaintiffs have developed

no evidence that Mallinckrodt’s anti-diversion program was deficient after 2012.                                   Indeed,




1
  Mallinckrodt plc is an Irish company that is not subject to and contests personal jurisdiction for the reasons explained
in its pending motion to dismiss for lack of personal jurisdiction; it is specially appearing to join this motion as a result
of the Court’s deadline to file dispositive and Daubert motions, and, thus, it does not waive and expressly preserves
its pending personal jurisdiction challenge.
2
  Mallinckrodt shipped only one order into Cuyahoga county—a single shipment to the Cleveland Clinic in 1998 that
Plaintiffs do not claim was suspicious. Pantina Decl. Ex. 1 (Cuyahoga sales data).
Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 5 of 14. PageID #: 86129




Plaintiffs’ experts have explicitly denied holding the opinion that Mallinckrodt’s anti-diversion

program was in any way inadequate after 2012.

       Summary judgment “is a tool to narrow the factual and legal issues to be brought to trial.”

Riddle v. Egensperger, 266 F.3d 542, 551 (6th Cir. 2001); see also Wuliger v. Christie, 310 F.

Supp. 2d 897, 901 (N.D. Ohio 2004). This case desperately needs narrowing. After more than 13

months of discovery, it is clear that Plaintiffs lack the factual evidence necessary to prove that

Mallinckrodt: (i) falsely marketed its generic products (it did not promote them at all), (ii) shipped

any suspicious order to any customer, let alone a customer in Cuyahoga or Summit County, or (iii)

had an inadequate anti-diversion program at any point after 2012. Judgment should enter for

Mallinckrodt on at least those aspects of Plaintiffs’ claims to narrow the focus of any trial.

                                      LEGAL STANDARD

       A Court must grant summary judgment where the “depositions, documents, electronically

stored information, affidavits or declarations, stipulations [], admissions, interrogatory answers, or

other materials” “show[] that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a), (c); see also Scola v. Publix

Supermarkets, Inc., 557 F. App’x 458, 462 (6th Cir. 2014). “[T]he mere existence of a scintilla of

evidence in support of the plaintiff’s position will be insufficient; there must be evidence on which

the jury could reasonably find for the plaintiff.” Univ. Hosp. Health Sys., Inc. v. Pohl Inc. of Am.,

358 F. Supp. 3d 658, 662 (N.D. Ohio 2019) (quoting Copeland v. Machulis, 57 F.3d 476, 479 (6th

Cir. 1995)).




                                                  2
 Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 6 of 14. PageID #: 86130




                                                  ARGUMENT

I.       Mallinckrodt is Entitled to Partial Summary Judgment on Plaintiffs’ Marketing
         Claims Because Plaintiffs Have Failed to Adduce Evidence that Mallinckrodt
         Promoted its Generic Products.

         Nearly all of Mallinckrodt’s opioid sales were of generic opioids, which were never

promoted to physicians. Indeed, the undisputed evidence shows that Mallinckrodt’s only opioid

promotion was limited to its very few branded opioid products.3 Accordingly, the Court should

enter partial summary judgment in Mallinckrodt’s favor on Plaintiffs’ marketing-based claims as

to its generic drugs.

         Simply put, Plaintiffs’ allegations of false or misleading marketing have no applicability

to the vast majority of Mallinckrodt’s sales. More than 99.7% of the opioids Mallinckrodt sold

were generic medications,4 which Mallinckrodt did not promote to physicians. Pantina Decl. Ex.

4 (Collier Dep. Tr.) at 253:13-19. As Plaintiffs own experts concede, generic manufacturers like

Mallinckrodt do not try to grow the market for generic opioids by educating doctors on the risks

and benefits of its generic products. Pantina Decl. Ex 5 (Perri Dep. Tr. Vol. 2) at 547:15–548:8.

Rather, Mallinckrodt sells its generic opioid medications to DEA-registered wholesalers,



3
  The Complaint alleges that, in addition to generic opioids, Mallinckrodt manufactured and sold two branded opioids:
Exalgo and Xartemis. Summit Compl. ¶ 101. Although Mallinckrodt’s promotion of Exalgo and Xartemis was
completely consistent with their FDA-approved labels and included appropriate warnings, Mallinckrodt recognizes
that Plaintiffs would likely dispute that contention and respects the Court’s instruction to be selective in identifying
bases for summary judgment. Accordingly, this individual motion focuses on marketing with respect to generic
products only. However, Mallinckrodt joins other joint briefs that move for summary judgment on separate grounds
applicable to the branded marketing claims. See Manufacturer Defendants’ Brief in Support of Mot. for Summ. J. for
Plaintiffs’ Failure to Offer Proof of Causation; Combined Brief of Distributors and Manufacturers in Support of Partial
Summ. J. on Statute of Limitations Grounds; Brief in Support of Manufacturers’ Joint Mot. for Summ. J. on Plaintiffs’
RICO, OCPA, and Conspiracy Claims; Manufacturer Defendants’ Brief in Support of Mot. for Summ. J. that
Plaintiffs’ State-Law Claims are Preempted and Their Federal Claims Are Precluded; Manufacturer Defendants’
Memo. in Support of Mot. for Summ. J. on Plaintiffs’ Public Nuisance Claims.
4
  See Pantina Decl. Ex. 2 (slipsheet referencing MNK-T1_0007897646, which Mallinckrodt will submit in native
format). This statistic is based on sales data for direct sales between 2006 and 2017, calculated as a share of dosage
units, excluding generic methadone and its branded form, Methadose, which is an addiction treatment medication that
Plaintiffs also exclude from their analysis. See Pantina Decl. Ex. 3 (Expert Report of Meredith Rosenthal, p. 37 and
Attachment C).


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 Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 7 of 14. PageID #: 86131




distributors, and retail pharmacies, and—as with all generic products—it competes with other

generic manufacturers based primarily on price, as well as on quality and service. Pantina Decl.

Ex. 6 (Vorderstrasse Dep. Tr.) at 139:10-23. It is thus unsurprising that there is no evidence that

Mallinckrodt promoted its generic opioids to prescribers—without whom there can be no

prescription to fill—much less that it did so in a false or misleading fashion.

       In addition, all labeling for generic prescription medications, including opioids, must be

approved by the FDA as part of the drug approval process, 21 U.S.C. § 355(j)(2)(A); 21 C.F.R. §

314.94, and generic manufacturers must abide by the “duty of sameness” in keeping generic

medications identical to their branded counterparts, 21 U.S.C. § 355(j)(2)(A)(i)-(iv); PLIVA, Inc.

v. Mensing, 564 U.S. 604, 613, 616 (2011). To the extent Plaintiffs allege that Mallinckrodt’s

labeling was misleading, those claims are preempted for all the reasons discussed in the Generic

Manufacturers’ Motion for Partial Summary Judgment. This Court should accordingly grant

summary judgment for Mallinckrodt on Plaintiffs’ marketing claims to the extent they are based

on Mallinckrodt’s generic opioid products.

II.    Mallinckrodt is Entitled to Summary Judgment on Plaintiffs’ Claims Premised on a
       Diversion Theory Because Plaintiffs Have Failed to Adduce Evidence that
       Mallinckrodt Shipped Any Suspicious Orders or that Its Anti-Diversion Program
       was Deficient after 2012.

       After months of extensive discovery, Plaintiffs have failed to identify a single suspicious

order that Mallinckrodt shipped to any customer, much less a customer in Cuyahoga or Summit

County. Perhaps most tellingly, Plaintiffs’ own experts have expressly declined to conclude that

Mallinckrodt’s anti-diversion program was in any way deficient since 2012. Indeed, the record is

completely devoid of any evidence suggesting any deficiency in Mallinckrodt’s anti-diversion

program in the last seven years. The Court should accordingly grant summary judgment for

Mallinckrodt on Plaintiffs’ diversion-based claims related to orders placed after 2012.



                                                 4
    Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 8 of 14. PageID #: 86132




         A.      Plaintiffs Have Failed to Identify a Single Suspicious Order that
                 Mallinckrodt Shipped, Much Less One After 2012.

         Plaintiffs’ diversion claims are purportedly grounded in Mallinckrodt’s supposed failure to

halt and report shipments of suspicious orders, allegedly in violation of the Controlled Substances

Act and its implementing regulations. See Summit Compl. ¶ 504. But Plaintiffs are missing the

most basic element of their claim: a suspicious order. After months and months of discovery, and

more than 30 depositions of Mallinckrodt witnesses, Plaintiffs have failed to identify a single

suspicious order that Mallinckrodt purportedly shipped to any of its customers.

         Although Plaintiffs’ written discovery responses promised that their experts would identify

suspicious orders that Mallinckrodt shipped,5 Plaintiffs’ expert reports are deafeningly silent. In

fact, none of Plaintiffs’ four experts opining on diversion issues identify in his or her expert report

a single suspicious order that Mallinckrodt supposedly shipped. Indeed, Plaintiffs’ primary expert

on suspicious order monitoring, Mr. Rafalski, admitted in his deposition that he is not able to

identify any suspicious orders at all shipped by Mallinckrodt (or any other Manufacturer Defendant

for that matter). Pantina Decl. Ex. 9 (Rafalski Dep. Tr. Vol. 2) at 635:2-13 (“Q. Okay. And are

you offering any opinion in this litigation that any particular order shipped by a manufacturer into

Summit or Cuyahoga County was suspicious? A. I'm sorry, shipped by a manufacturer -- Q.

Correct. A. -- to a distributor? Q. That’s right. To -- to someone in Cuyahoga or Summit County.

A. No, sir.”).

         Similarly, Plaintiffs’ experts do not identify a single suspicious order placed to

Mallinckrodt that the company failed to report to DEA. To the contrary, the uncontested record

evidence demonstrates that Mallinckrodt never shipped any suspicious order. Pantina Decl. Ex.



5
 See Pantina Decl. Ex. 7 (Summit County’s Suppl. Resp. to Manufacturer Defendants’ Interrog. No. 27); Pantina
Decl. Ex. 8 (Cuyahoga County’s Suppl. Resp. to Manufacturer Defendants’ Interrog. No. 28).


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Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 9 of 14. PageID #: 86133




10 (Harper Dep. Tr.) at 442:6-9. Without record evidence that Mallinckrodt ever shipped a

suspicious order, a jury cannot find the facts sufficient to sustain Plaintiffs’ diversion claims

against Mallinckrodt.

       What’s more, except for a single (totally innocuous) order shipped to the Cleveland Clinic

in 1998, Mallinckrodt never shipped any opioid products into Summit or Cuyahoga counties, at

any time. Pantina Decl. Ex. 1 (Cuyahoga direct sales data). Instead, Mallinckrodt sold its opioid

products to DEA-registered distributors, wholesalers, and the distribution centers of retail

pharmacy chains—and not to independent pharmacies that dispense products to patients. Pantina

Decl. Ex. 6 (Vorderstrasse Dep. Tr.) at 139:10-23. Orders that Mallinckrodt received were shipped

to the locked vaults at Mallinckrodt’s customers’ warehouses and no farther.            Only after

Mallinckrodt’s customers received orders for that product—orders that Mallinckrodt did not see

and that first passed through the DEA-registered customers’ suspicious order monitoring system—

would Mallinckrodt’s product leave that customer’s warehouse and travel to a pharmacy where it

could be dispensed to a patient who presents a valid prescription. The Manufacturer Defendants

have filed a separate brief addressing Plaintiffs’ failure to show causation—including the failure

to connect any shipment by a manufacturer to any harm in Cuyahoga and Summit Counties—and

Mallinckrodt refers to and incorporates that brief by reference. See Manufacturer Defendants’

Brief in Support of Mot. for Summ. J. for Plaintiffs’ Failure to Offer Proof of Causation. In short,

Plaintiffs have failed to connect any shipment by Mallinckrodt, much less a suspicious one, to

diversion in the relevant geography, providing yet another basis for summary judgment.

       B.      As Plaintiffs’ Experts Agree, the Record Provides No Basis to Find that
               Mallinckrodt’s Anti-Diversion Efforts after 2012 Were Inadequate.

       Unable to identify a single instance in which Mallinckrodt failed to halt or report a

suspicious order, Plaintiffs resort to the vague, hail-Mary assertion that Mallinckrodt allegedly



                                                 6
Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 10 of 14. PageID #: 86134




failed to “maintain controls against diversion.” See Summit Compl. ¶¶ 512, 516. However, even

Plaintiffs’ own experts declined to conclude that Mallinckrodt’s anti-diversion program was in any

way deficient after 2012.

        After months of sweeping discovery and depositions of more than 30 company witnesses,

Plaintiffs cannot substantiate their allegation that Mallinckrodt’s anti-diversion program was

deficient at any time since 2012. Tellingly, both experts retained by Plaintiffs to opine on the

alleged insufficiency of Defendants’ controlled substances compliance programs conceded that

they are not offering any opinion that Mallinckrodt’s anti-diversion program was insufficient or

ineffective after 2012. Pantina Decl. Ex. 9 (Rafalski Dep. Tr. Vol. 2) at 665:19-666:8 (“Q. Okay.

So fair to say in this litigation, you’re not providing any opinion with respect to Mallinckrodt’s

suspicious order monitoring program after 2011? . . . A . . . so that would be an accurate statement

as of today.”); Pantina Decl. Ex. 11 (Whitelaw Dep. Tr. Vol. 2) at 938:9-13 (“Q. Are you stating

today that you cannot offer an opinion as to the adequacy of Mallinckrodt’s anti-diversion program

post 2012? A. That is what I’m saying. . . .”). Neither Mr. Rafalski nor Mr. Whitelaw testified to

any deficiencies in Mallinckrodt’s anti-diversion program after 2012.

        Plaintiffs likewise have failed to adduce factual support for any alleged deficiency. The

uncontested record evidence shows that Mallinckrodt had a robust anti-diversion program that—

as early as 2010—included voluntary chargeback review and reporting of downstream registrants.

Pantina Decl. Ex. 12 (Gillies Dep. Tr. Vol. 1) at 221:7-18. Mallinckrodt reported to DEA the

results of its monitoring, Pantina Decl. Ex. 10 (Harper Dep. Tr.) at 374:10-17,6 and DEA was

appreciative. Indeed, in response to learning about Mallinckrodt’s chargeback review initiative in



6
 See also Pantina Decl. Ex. 13 (November 1, 2010 letter from Mallinckrodt to DEA St. Louis Division Office, at
Bates begin MNK-T1_0000373856); Pantina Decl. Ex. 14 (November 1, 2010 letter from Mallinckrodt to DEA
Albany Division Office, at Bates begin MNK-T1_0000288483).


                                                      7
Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 11 of 14. PageID #: 86135




2010, the St. Louis DEA Diversion Program Manager told Mallinckrodt that it had “the best”

process that he had seen to date and “what he expected from Mallinckrodt as an industry leader.”

Pantina Decl. Ex. 15 (Harper notes from November 1, 2010 meeting at DEA St. Louis Office,

Bates begin MNK-T1_0000421974). Even Plaintiffs’ expert Mr. Whitelaw admitted that he “did

not find flaws” with respect to Mallinckrodt’s chargeback restriction program; the only “flaw” in

the program, according to Mr. Whitelaw, was that Mallinckrodt did not implement chargeback

review earlier. Pantina Decl. Ex. 11 (Whitelaw Dep. Tr.) at 944:22-945:23. With no expert

opinion that the Company’s anti-diversion program was deficient after 2012, and no factual

evidence of any deficiencies in the record, Plaintiffs cannot substantiate the allegations in their

Complaint. Accordingly, the Court should grant summary judgment in Mallinckrodt’s favor on

all diversion-based claims at the very least as to the time period after 2012.

                                          CONCLUSION

       Summary judgment should enter for Mallinckrodt on Plaintiffs’ marketing claims to the

extent they are based on Mallinckrodt’s generic opioid products and on Plaintiffs’ diversion claims

at the very least as to the time period after 2012.



Dated: June 28, 2019                                  Respectfully submitted,



                                                      /s/ Brien T. O’Connor
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                                                  8
Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 12 of 14. PageID #: 86136




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                                          Mallinckrodt LLC and SpecGx LLC,
                                          and appearing specially for
                                          Mallinckrodt plc




                                      9
Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 13 of 14. PageID #: 86137




                      LOCAL RULE 7.1(f) CERTIFICATE OF SERVICE

        Pursuant to the Court’s Order Regarding Pretrial Motions for “Track One” Trial, ECF #

1653, individual defendants have 18 pages for summary judgment motions. This brief adheres to

the limits set forth in that order, as it totals 8 pages.



Dated: June 28, 2019



                                                            /s/ Brien T. O’Connor
                                                            Brien T. O’Connor




                                                    10
Case: 1:17-md-02804-DAP Doc #: 1907-2 Filed: 07/19/19 14 of 14. PageID #: 86138




                                 CERTIFICATE OF SERVICE

       I, Brien T. O’Connor, hereby certify that the foregoing document was served via file

transfer protocol and email to all counsel of record.




                                                        /s/ Brien T. O’Connor
                                                        Brien T. O’Connor




                                                 11
